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                        N O T R EC O M M EN DED   FO R   P U BLIC A TIO N   OR   C ITA TIO N


                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                         CENTRAL DIVISION at LEXINGTON


CIVIL ACTION NO. 08-CV-206-JBC


IN RE: NORMAN DAVID SOMERVILLE


                        MEMORANDUM OPINION AND ORDER

                                ** ** ** ** ** **

      Norman David Somerville, who is incarcerated in the Federal Medical Center

(“FMC”), in Lexington, Kentucky, has submitted a pro se “Petition . . . Requesting

Depositions to Perpetuate Testimony before a Bivens Action is Filed,” pursuant to

Federal Rule of Civil Procedure 27. The Court has construed the initial pleading as

initiating a civil action under 28 U.S.C. § 1331 and pursuant to the doctrine

announced in Bivens v. Six Unknown Federal Narcotics Agents, 403 U.S. 388 (1971),

and the Plaintiff has now paid the District Court filing fee for a civil action.

      This matter is before the Court for initial screening. 28 U.S.C. § 1915A;

McGore v. Wrigglesworth, 114 F.3d 601, 607-8 (6th Cir. 1997). In the Court’s

screening, pro se pleadings are held to less stringent standards than those drafted by

attorneys. Burton v. Jones, 321 F.3d 569, 573 (6th Cir. 2003); Hahn v. Star Bank,

190 F.3d 708, 715 (6th Cir. 1999). During screening, the allegations are taken as

true and liberally construed in his favor. Urbina v. Thoms, 270 F.3d 292, 295 (6th

Cir. 2001).
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                               FACTUAL ALLEGATIONS

      Plaintiff alleges that he authored a book titled Unmistakable Tyranny, which

proved so successful that in 2007, a third edition was published. That later edition

included a new section, entitled “Petition for Impeachment of Named United States

Judges,” naming 24 judges who should be impeached. One of these Judges, Thomas

Nelson, of the United States District Court for the District of Idaho, contacted the U.S.

Marshals Service, and on July 3, 2007, after the material was faxed to Lexington, a

local investigation was initiated.

      Somerville complains that he was immediately subject to “prejudicial action” by

persons in the Federal Bureau of Prisons (“BOP”) at FMC-Lexington, including special

screening of his outgoing mail and placement in the Special Housing Unit, which was

painfully cold. Eventually, on August 14, 2007, he was allegedly “fired from his job

as a Clerk in the Law Library and placed in Food Service where his Housing Unit

Managers Mr. Kenny Coleman and Mr. Pitt and or [sic] the Warden . . . have ordered

that he will remain indefinitely.”

      Plaintiff alleges that when he became depressed because of these events, he

spoke with a BOP officer, Lt. Bill Trimble, who began his own investigation. Trimble

is alleged to have told him later that the job transfer was in retaliation for his exercise

of his writings. Somerville also began his own investigation through the Freedom of

Information Act (“FOIA”). The documents obtained through FOIA and from his pursuit




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of the BOP administrative remedy process purportedly provide “compelling evidence”

to prove the job loss was, indeed, retaliatory.

       However, Plaintiff swears, other BOP staff members have told him that his job

reassignment was not punitive. They contend either that the reassignment was only

one of many made to relieve a manpower shortage in the prison’s Food Service

Department or that the reassignment was because the Law Library no longer needed

him. Plaintiff maintains that these reasons are false and a cover-up, as he was

actually fired in retaliation for his writings.

       Somerville states that he has exhausted the BOP Administrative Remedies “in

at least four completed Remedy proceedings” and is currently completing the

remaining one. He provides copies of documents from BOP Administrative Remedy

Nos. 471568, 471972, 474762, 475349, and 484345. He claims both that persons

involved in that process are not proceeding correctly and also that he is close to the

end of the process, anticipating that “the BOP will complete Responses to the

remaining Remedy #No. 484345-F2 within two to six months.”

                                         RULE 27

       Somerville claims that he should be permitted to take depositions prior to filing

a lawsuit on these facts, under Federal Rule of Civil Procedure 27(a).

       Rule provides in pertinent part as follows:

       (a) Before an Action Is Filed.

              (1) Petition. A person who wants to perpetuate testimony
              about any matter cognizable in a United States court may

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             file a verified petition in the district court for the district
             where any expected adverse party resides. The petition
             must ask for an order authorizing the petitioner to depose
             the named persons in order to perpetuate their testimony.
             The petition must be titled in the petitioner's name and
             must show:

                   (A) that the petitioner expects to be a party to
                   an action cognizable in a United States court
                   but cannot presently bring it or cause it to be
                   brought;
                   (B) the subject matter of the expected action
                   and the petitioner's interest;
                   (C) the facts that the petitioner wants to
                   establish by the proposed testimony and the
                   reasons to perpetuate it;
                   (D) the names or a description of the persons
                   whom the petitioner expects to be adverse
                   parties and their addresses, so far as known;
                   and
                   (E) the name, address, and expected
                   substance of the testimony of each deponent.

             (2) Notice and Service. At least 20 days before the hearing
             date, the petitioner must serve each expected adverse party
             with a copy of the petition and a notice stating the time and
             place of the hearing. . . .

             (3) Order and Examination. If satisfied that perpetuating the
             testimony may prevent a failure or delay of justice, the
             court must issue an order that designates or describes the
             persons whose depositions may be taken, specifies the
             subject matter of the examinations, and states whether the
             depositions will be taken orally or by written interrogatories.
             ..
             ...

Fed.R.Civ.P. 27(a)(1)-(3).

      Somerville contends that he has satisfied all five sections of Rule 27(a)(1)(A)-(E)

and is, therefore, entitled to perpetuate the testimony of the persons requested. The

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first two requirements, in subsections (a)(1)(A) and (B), are purportedly satisfied by

his first setting out the allegations which are the factual basis of a future action and

then explaining that he cannot bring a civil rights action yet because he has not yet

exhausted the BOP administrative process, a pre-condition to a prisoner’s filing a civil

rights action. When all of his administrative remedies have been exhausted, Somerville

swears, he intends to file a Bivens action for “substantial monetary damages,” based

on violation of his First Amendment rights and on the retaliatory measures taken

against him.

      Satisfying (a)(1)(D) requires only the naming of the opponents in that future

action. The Plaintiff names four intended Defendants: David A. Meyer, a Judicial

Security Inspector with the U.S. Marshal Service in Boise, Idaho, who contacted the

local authorities to initiate an investigation; and three FMC-Lexington employees,

Warden Stephen M. Dewalt and Housing Unit Managers Kenny Coleman and Mr. Pitt.

      With regard to the persons whom he wants to depose, as required in Rule

27(a)(1)(E), he lists two FMC-Lexington staff members under whom he worked in the

law library, Donna Shepherd and Kristi Collins, and Lt. Trimble. As to “the facts that

the petitioner wants to establish by the proposed testimony,” required in Rule

27(a)(1)(C), Somerville states that these three deponents will establish that he was a

good library employee; the library was understaffed when he was fired; the reasons

given for his dismissal from that job are false; the real reason was to retaliate against




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him for his writings; and “Dewalt and or Housing Unit Manager Kenny Coleman or

others did in fact order Somerville’s termination from his job.”

       The final requirement for the petition under Rule 27 (a)(1) is that the one

seeking to take the depositions set out “the reasons to perpetuate” the testimony of

these deponents now, rather than after filing the planned lawsuit.           Fed.R.Civ.P.

27(a)(1)(C).   Somerville first states that he wants to depose the three named

witnesses “while the matters are still fresh in their minds . . . ,” not later, because his

Bivens action may not be brought until the last administrative remedy response is

made, which could be anywhere from two to six months from now. Additionally, he

argues, the statute of limitations would run at approximately the same time as he may

be released, in 2009 or sooner, and permitting the depositions now “serves the ends

of justice by acquiring testimony while the events are still as recently remembered as

possible.”

                                      DISCUSSION

       While the instant petition conforms to the Rule as to form, it has a more

fundamental problem. Courts generally agree that to allow Rule 27 to be used for the

purpose of discovery before an action is commenced to enable a person to fish for

some ground for bringing suit would be “an abuse of the rule.” Wright, Miller &

Marcus, Federal Practice and Procedure, § 2071 at 651-652.            Therefore, to the

extent that Somerville wants to find out which person issued the directive to terminate

him from his job, Dewalt, Coleman, or someone else, the use of Rule 27 is not


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appropriate. “It has long been established that ‘perpetuation’ means the perpetuation

of known testimony and that Rule 27 may not be used as a substitute for discovery

to determine if a cause of action exists.” Application of Checkosky, 142 FF.R.D. 4,

7 (D.D.C. 1992) (citing Ash v. Cort, 512 F.2d 908, 912 (3rd Cir. 1975)).

      Rather, Rule 27 petitioners must know what the deponent will say and “make

a particularized showing that the testimony needs to be taken in advance of the

contemplated action.” Id. at 7 (citing cases). The use of Rule 27 is restricted to “only

. . . that special category of cases where it is necessary to prevent testimony from

being lost.” Ash, 512 F.2d at 911. Rule 27 applies to situations in which “for one

reason or another, testimony might be lost to a prospective litigant unless taken

immediately.” Petition of Ferkauf, 3 F.R.D. 89, 91 (S.D.N.Y. 1943).

      Most petitions to perpetuate testimony have been granted when a witness is

aged or gravely injured and in danger of dying or there are geographical constraints.

See, e.g., Texaco, Inc. v. Borda, 383 F.2d 607 (3rd Cir.1967) (permitting deposition

of a witness of advanced age in suit that had been stayed pending resolution of

parallel criminal prosecution); Petition of Delta Quarries and Disposal, Inc., 139 F.R.D.

68 (M.D.Pa.1991) (deponent's condition was serious and only deponent had

knowledge of activities at landfill before 1978 when physical records began to be

kept); In re Sims, 389 F.2d 148, 150 (5th Cir.1967) (potential deponent was

imminently departing for Peru).




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      In the absence of special circumstances, however, Rule 27 petitions ordinarily

have been denied. See Checkosky, 142 F.R.D. at 7-8 (General concerns about the

passage of time and the fading of memories do not constitute a particularized showing

that the testimony needs to be taken in advance of the contemplated action.);

Lombard's, Inc. v. Prince Mfg., Inc., 753 F.2d 974, 976 (11th Cir.1985), cert. denied,

474 U.S. 1082 (1986) (Rule 27 petition denied which alleged only that witnesses

were not “immune from matters of life (and death)” and that petitioner was “genuinely

concerned” that documents could be destroyed). The instant case falls into this

category.

      In short, Somerville has made no showing that the testimony he seeks to

perpetuate is in any danger of being lost if depositions of the named individuals are not

immediately taken.    Therefore, he fails to meet the requirements of Fed.R.Civ.P.

27(a)(1)(C). Additionally, he fails to reach the threshold which this Court must have

to grant the petition and permit the requested depositions. Rule 27(a)(3) requires the

Court to find that “the perpetuation of the testimony may prevent a failure or delay of

justice.” Fed.R.Civ.P. 27(a)(3).

      “To satisfy the court that the testimony is needed to protect against a failure

or delay of justice, the great weight of authority requires the petitioner to show that

there is a risk of loss of the desired testimony.” Biddulph v. United States, 239 F.R.D.

291, 293 (D.D.C. 2007). The instant petitioner having failed to carry this burden

under Rule 27 and the court being advised,


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      IT IS ORDERED that Norman David Somerville’s Petition Requesting Depositions

to Perpetuate Testimony, pursuant to Federal Rule of Civil Procedure 27(a), is DENIED,

this action shall be DISMISSED, sua sponte, and a contemporaneous Judgment shall

be entered against the Plaintiff.




      Signed on June 20, 2008




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